          Case 17-31085         Doc 12      Filed 10/10/17       Entered 10/10/17 13:44:54              Page 1 of 2

                          United States Bankruptcy Court
                                     District of Connecticut
                                                                                                    Filed and Entered
                                                                                                        On Docket
                                                                                                    October 10, 2017


In re:
         Arthur B. Estrada                                                                 Case Number: 17−31085 amn
                                            Debtor*                                        Chapter: 7

Arthur B. Estrada , Debtor(s)

Movant(s)

v.

American Express Bank FSB
Target National Bank
Discover Bank
Respondent(s)



               ORDER GRANTING MOTION TO AVOID LIENS PURSUANT TO 11 U.S.C. § 522(f)




       In connection with the Debtor's Motion to Avoid Liens pursuant to 11 U.S.C. § 522(f) (the "Motion", ECF No.
8), after notice and a hearing, see 11 U.S.C § 102(1), and in compliance with the Court's Contested Matter Procedure,
and there being no objection filed to the Motion, it having been represented in the Motion that:

      1. On the date of the commencement of this case, July 20, 2017, the fair market value of the Debtor's residence
and real property located at 29 Myra Road, Hamden, Connecticut (the "Property"), was $260,000.00;

       2. The Debtor is entitled to and "could claim", see 11 U.S.C. § 522(f)(1) and (2)(A), an exemption with respect
to the Property under 11 U.S.C. §§ 522(b) or Connecticut General Statute 52−352b(t) in the amount of $11,875.00;
and

         3. All encumbrances filed against the Property are set forth in the Motion; it is hereby

      ORDERED: The Motion is granted insofar as the fixing of the following liens on the Debtor's interest in the
Property are avoided pursuant to 11 U.S.C. § 522(f):

          A. First encumbrance
              i. Name of encumbrance holder:                       American Express Bank FSB
              ii. Type of encumbrance:                             Judicial Lien
              iii. Recording information:
                   a. Volume:                                      3661
                   b. Page:                                        319
                   c. City/Town:                                   Hamden
              iv. Amount of encumbrance:                           $13,847.79
                                                                   in principal
                                                                   as of the date of recording
          B. Second encumbrance
              i. Name of encumbrance holder:                       Target National Bank
              ii. Type of encumbrance:                             Judicial Lien
        Case 17-31085            Doc 12        Filed 10/10/17         Entered 10/10/17 13:44:54             Page 2 of 2
             iii. Recording information:
                  a. Volume:                                             3666
                  b. Page:                                               119
                  c. City/Town:                                          Hamden
             iv. Amount of encumbrance:                                  $10.094.16
                                                                         in principal
                                                                         as of the date of recording
         C. Third encumbrance
             i. Name of encumbrance holder:                              Discover Bank
             ii. Type of encumbrance:                                    Judicial Lien
             iii. Recording information:
                  a. Volume:                                             3792
                  b. Page:                                               267
                  c. City/Town:                                          Hamden
             iv. Amount of encumbrance:                                  $12,463.27
                                                                         in principal
                                                                         as of the date of recording
       ; and it is further

      ORDERED: If the Debtor's case is dismissed, any and all liens avoided by this Order shall be reinstated under
11 U.S.C. § 349 without further order of this Court .



Dated: October 10, 2017                                                                        BY THE COURT




United States Bankruptcy Court                                                           Tel. (203) 773−2009
District of Connecticut                                                                  VCIS* (866) 222−8029
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                                                                                         Form 120 − sr
*For the purposes of this order, "Debtor" means "Debtors" where applicable.
